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                          Exhibit J
    ALERT: EFFECTIVE NOVEMBER 29, 2024, INTERNATIONAL MAIL SERVICE TO CANADA IS TEMPORARILY SUS…
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